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     THE ROSEN LAW FIRM, P.A.
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 4
     Counsel for Lead Plaintiff
 5
                               UNITED STATES DISTRICT COURT
 6                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
 7
     NICK PATTERSON, Individually and on        Case No. 22-cv-03600-TLT
 8
     Behalf of All Others Similarly Situated,
 9                                Plaintiff,
                                                DECLARATION OF LAURENCE M.
10          v.                                  ROSEN IN SUPPORT OF THE MOTION
                                                FOR EXTENSION OF TIME
11   TERRAFORM LABS, PTE. LTD., JUMP            REGARDING SERVICE AND
     CRYPTO, JUMP TRADING LLC, REPUBLIC         RESPONDING TO THE COMPLAINT
12
     CAPITAL, REPUBLIC MAXIMAL LLC,
13   TRIBE CAPITAL, DEFINANCE
     CAPITAL/DEFINANCE TECHNOLOGIES             CLASS ACTION
14   OY, GSR/GSR MARKETS LIMITED, THREE
     ARROWS CAPITAL PTE. LTD., NICHOLAS
15   PLATIAS, and DO KWON,                      JURY TRIAL DEMANDED
16
                                  Defendants.
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     DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF THE MOTION FOR EXTENSION OF TIME
28                REGARDING SERVICE AND RESPONDING TO THE COMPLAINT
                                     22-cv-03600-TLT
      Case 5:22-cv-03600-PCP Document 83-1 Filed 01/11/23 Page 2 of 4




 1          I, Laurence M. Rosen, declare:

 2          1.      I am an attorney duly licensed to practice in the State of California and before this

 3   Court. I am the managing partner of The Rosen Law Firm, P.A., and Court-appointed Lead

 4   Counsel to Court-appointed Lead Plaintiff, Michael Tobias. I have personal knowledge of the

 5   matters stated herein and if called as a witness, I could and would competently testify thereto.

 6          2.      The purpose of Plaintiff’s Motion for Extension of Time Regarding Service and

 7   Responding to the Complaint (the “Motion”) is to allow sufficient time for Lead Counsel to

 8   complete an investigation and file an amended complaint. Lead Counsel did not file the complaint

 9   in this action. In addition, the Motion will allow Lead Counsel sufficient time to complete service

10   of process upon the Defendants. Several Defendants appear to be in foreign countries, requiring

11   service under the Hague Service Convention or other means reasonably calculated to give notice.

12   Moreover, the Motion will allow the Defendants to adopt the same litigation schedule.

13          3.      Defendants who have appeared in the case consent to the requested schedule.

14          4.      On January 11, 2023, counsel for Defendants TerraForm Labs Pte. Ltd.

15   (“TerraForm”) and Individual Defendant Do Kwon (“Kwon”) agreed to accept service on behalf

16   of those Defendants, reserving all defenses except as to adequacy of service of process. Counsel

17   for Defendants TerraForm and Kwon do not consent to the extension Lead Plaintiff requests, but

18   inform that they will not file an opposition.

19          5.      The Court granted previous Stipulations and [Proposed] Orders suspending the

20   Defendants’ obligations to respond to the existing complaint in the action, to prevent unnecessary

21   motion practice and conserve judicial resources for the eventual consolidated amended complaint

22   (Dkt. Nos. 16, 17).

23          6.      Since, among other reasons, this is an action governed by the Private Securities

24   Litigation Reform Act (“PSRLA”), 15 U.S.C. §78u-4, the Stipulation will have no material effect

25   on the case schedule beyond the dates set forth in the Stipulation.

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     DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF THE MOTION FOR EXTENSION OF TIME
                  REGARDING SERVICE AND RESPONDING TO THE COMPLAINT
                                     22-CV-03600-TLT
      Case 5:22-cv-03600-PCP Document 83-1 Filed 01/11/23 Page 3 of 4




 1          I declare under penalty of perjury under the laws of the State of California and the United

 2   States that the foregoing is true and correct.

 3          Executed this eleventh day of January 2023.

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                                                          /s/ Laurence M. Rosen
 6                                                        Laurence M. Rosen

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     DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF THE MOTION FOR EXTENSION OF TIME
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      Case 5:22-cv-03600-PCP Document 83-1 Filed 01/11/23 Page 4 of 4




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 2
                                          PROOF OF SERVICE
 3
            I, Laurence M. Rosen, hereby declare under penalty of perjury as follows:
 4
            I am the managing attorney of The Rosen Law Firm, P.A., with offices at 355 South
 5
     Grand Avenue, Suite 2450, Los Angeles, CA 90071. I am over the age of eighteen.
 6

 7          On January 11, 2023, I electronically filed the foregoing Declaration of Laurence M.

 8   Rosen in Support of the Motion for Extension of Time Regarding Service and Responding

 9   to the Complaint with the Clerk of the Court using the CM/ECF system which sent notification
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     of such filing to counsel counsel of record.
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                                                        /s/ Laurence M. Rosen
13                                                      Laurence M. Rosen
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     DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF THE MOTION FOR EXTENSION OF TIME
                  REGARDING SERVICE AND RESPONDING TO THE COMPLAINT
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